 Case 1:20-cr-00203-BMC Document 40 Filed 12/24/20 Page 1 of 2 PageID #: 107




                                                                  December 24, 2020


                                                                                                                 VIA ECF
Honorable Brian M. Cogan
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                 Re:      United States v. Colinford Mattis and Urooj Rahman,
                          Criminal Docket No. 20-203 (BMC)

Dear Judge Cogan:

               I write, with the consent of the government, to seek a modification of Urooj
Rahman’s bail conditions in the above-captioned case. As the Court knows, Ms. Rahman is on
house arrest (she lives with her mother in Brooklyn) with electronic monitoring. She is permitted
to leave the apartment for work, religious services, and other purposes, but only with the
permission of Pre-Trial Services. The proposed modification is this: Ms. Rahman would continue
to wear an electronic monitoring device but would be free to move within Manhattan, the Bronx,
Brooklyn and Queens between 8:00 a.m. and 6:00 p.m. weekdays. Movement outside that
geographic area (but within the Southern and Eastern Districts of New York) or outside that
designated time period would be permitted only with the permission of Pre-Trial Services. The
co-signed bond, of course, would remain in place.

               As noted, the government (AUSA Ian Richardson) consents to this modification.
Pre-Trial Services (Officer Ramel Moore) has authorized me to inform the Court that Ms. Rahman
has been fully compliant with her current bail conditions. The policy of Pre-Trial Services,
however, is not to consent to a bail modification absent a “change in circumstances,” and so it
leaves the matter to the Court.

               I would add that the proposed modification should significantly reduce the burden
on Pre-Trial Services; it will make it unnecessary for Ms. Rahman to contact her officer if she
needs to take her mother to the doctor or go to the pharmacy to get medication, or if her work
schedule changes.




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 Case 1:20-cr-00203-BMC Document 40 Filed 12/24/20 Page 2 of 2 PageID #: 108




December 24, 2020
Page 2


                I thank the Court for its consideration of this matter.

                                                           Respectfully submitted,

                                                           /s/ Paul Shechtman

                                                           Paul Shechtman
                                                           Partner
PS/wr




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